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 7
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 9
10 Attorneys for Plaintiff,
11 Cynthia Green
12
                       IN THE UNITED STATES DISTRICT COURT
13                          FOR THE DISTRICT OF NEVADA
14
     Cynthia Green,
15
                      Plaintiff,                      Case No.: 2:20-cv-02004-RFB-DJA
16
17         vs.
18
     Equifax Information Services, LLC, et al.,
19
20                 Defendants.

21
22                    NOTICE OF SETTLEMENT WITH DEFENDANT
                       EQUIFAX INFORMATION SERVICES, LLC
23
24         Plaintiff and Defendant, Equifax Information Services, LLC have agreed to settle
25 this lawsuit and intend to file a Stipulation of Dismissal as to Equifax Information
26
   Services, LLC with prejudice, no later than July 7, 2021.
27
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                                                  1
      Case 2:20-cv-02004-RFB-DJA Document 31 Filed 05/10/21 Page 2 of 3



 1
 2                                                 Respectfully submitted,
 3
 4                                                 By: /s/ Kristie L. Fischer
                                                   Kristie L. Fischer
 5                                                 2565 Coral Sky Court
 6                                                 Las Vegas, NV 89142
                                                   Telephone: 702-218-0253
 7
                                                   Email: Fischer.kristie@gmail.com
 8                                                 Attorneys for Plaintiff,
                                                   Cynthia Green
 9
10
11
12
13                                 PROOF OF SERVICE

14        I, Kristie L. Fischer, hereby state that on May 10, 2021 I served a copy of
15 the foregoing pleading upon all counsel of record via the ECF System.
16
17                                                 /s/ Kristie L. Fischer
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